IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

 

TIMOTHY OAKLEY and
MONICA OAKLEY,
PLAINTIFFS,
VS. No. 3:10-cv-0931
JURY DEMANDED
ALLSTATE PROPERTY AND

CASUALTY INSURANCE COMPANY,

DEFENDANT.

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

 

lt appearing to the satisfaction of the Court, that all things and matters in
controversy between Timothy Oakley and Monica Oakley and Allstate Property and
Casualty lnsurance Company, have been fully settled and compromised, as evidenced by
the signatures hereto of counsel for the respective parties, and that the Plaintiff’s case
against Defendant should be dismissed with prejudice, and the Defendant’s Counter-
Complaint should be dismissed with prejudice, with each party to pay their own
attorney’s fees and bear their own discretionary costs.

lT IS THEREFORE, ORDERED, ADJUDGED AND DECREED as follows:

l. The Plaintiff’s cause of action against the Defendant is hereby dismissed

with prejudice.
2. The Defendant’s Counter-Complaint is hereby dismissed with prejudice.
3. Each party shall pay their own attorney’s fees and bear their own

discretionary costs.

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JUDGE

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DATE / /

APPR()VED FOR ENTRY:

s/ Mike Breen

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s/ Zale Dowlen

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